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                                                                                      T H O M AS J . C AM P E N N I
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       March 28, 2019



       VIA ECF
       The Honorable Malachy Mannion
       United States District Court
       Middle District of Pennsylvania
       William J. Nealon Federal Building
       235 North Washington Avenue
       Scranton, PA 18503


       Re:         Lord v. NAPA Management Service Corporation, et al.
                   3:13-CV-2940 (M.D. Pa.)
       Dear Judge Mannion:
              On March 11, 2019, the parties held a telephonic discovery conference. During the call,
       the parties agreed to briefing schedule regarding the privileged nature of certain emails.
       Specifically, Defendants agreed to file its principal brief by April 1, 2019 and any reply brief by
       April 22. 2019. Plaintiff agreed to file his responsive brief by April 15, 2019.

              Due to conflicting legal obligations, Defendants respectfully request a two-day extension
       of the briefing schedule. With the Court’s approval, the current briefing schedule would be
       extended as follows: (1) Defendants’ principal brief would be due April 3, 2019; (2) Plaintiff’s
       responsive brief would be due by April 17, 2019; and (3) Defendants’ reply brief would be due by
       April 24, 2019.

                Plaintiff concurs in this short extension of the briefing schedule.

              Defendants respectfully request that the Court approve this modification of the briefing
       schedule.

                                               Respectfully yours,

                                               /s/Thomas J. Campenni

                                               THOMAS J. CAMPENNI


       cc:      All counsel of record (via ECF)


WILKES-BARRE . SCRANTON . HAZLETON
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